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                     Exhibit “B”
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


In re                                                        Chapter 11

FTX TRADING LTD., et al.,1                                   Case No. 22-11068 (JTD)

         Debtors.                                            (Jointly Administered)

                                                             Ref Nos. 333 & 569


        ORDER AUTHORIZING THE DEBTORS TO REJECT CERTAIN EXECUTORY
               CONTRACTS EFFECTIVE AS OF THE REJECTION DATE

                 Upon the motion (the “Motion”)2 of FTX Trading Ltd. and its affiliated debtors

and debtors-in-possession (collectively, the “Debtors”), for entry of an order (this “Order”)

authorizing the Debtors to (i) reject certain executory contracts set forth on Exhibit 1 to the

Order, effective as of the Rejection Date and (ii) take such actions as may be necessary to

implement and effectuate the rejection of the Contracts; and this Court having jurisdiction to

consider the Motion pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of

Reference from the United States District Court for the District of Delaware, dated February 29,

2012; and this Court being able to issue a final order consistent with Article III of the United

States Constitution; and venue of these Chapter 11 Cases and the Motion in this district being

proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this matter being a core proceeding pursuant

to 28 U.S.C. § 157(b); and this Court having found that proper and adequate notice of the Motion

and the relief requested therein has been provided in accordance with the Bankruptcy Rules, and


1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete
    list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX.
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    Capitalized terms not otherwise defined herein are to be given the meanings ascribed to them in the Motion.
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that, except as otherwise ordered herein, no other or further notice is necessary; and objections

(if any) to the Motion having been withdrawn, resolved or overruled on the merits; and a hearing

having been held to consider the relief requested in the Motion and upon the record of the

hearing and all of the proceedings had before this Court; and this Court having found and

determined that the relief sought in the Motion is in the best interests of the Debtors and their

estates; and that the legal and factual bases set forth in the Motion establish just cause for the

relief granted herein; and after due deliberation and sufficient cause appearing therefor;


               IT IS HEREBY ORDERED THAT:

               1.        The Motion is GRANTED as set forth herein.

               2.        Pursuant to section 365 of the Bankruptcy Code and Bankruptcy Rule

6006, each of the Contracts set forth on Exhibit 1 attached hereto is hereby rejected effective as

of the Rejection Date.

               3.        Each Contract counterparty shall have until the date fixed by this Court in

these Chapter 11 Cases pursuant to Bankruptcy Rule 3003(c)(3) to file any and all claims for

damages arising from the Debtors’ rejection of the Contracts.

               4.        The Debtors are authorized and empowered to execute and deliver such

documents, and to take and perform all actions necessary to implement and effectuate the relief

granted in this Order.

               5.        Nothing in this Order shall impair, prejudice, waive or otherwise affect

any rights of the Debtors and their estates to assert that any claims for damages arising from the

Debtors’ rejection of the Contracts is limited to any remedies available under any applicable

termination provisions of such rejected Contracts, or that any such claims are obligations of a

third party, and not those of the Debtors or their estates.


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               6.      All rights and defenses of the Debtors and any Contract counterparty are

preserved, including all rights and defenses of the Debtors with respect to a claim for damages

arising as a result of a Contract rejection, including any right to assert an offset, recoupment,

counterclaim, or deduction. In addition, nothing in this Order or the Motion shall limit the

Debtors’ ability to subsequently assert that any particular Contract is terminated, expired, or

otherwise no longer an executory contract.

               7.      The Debtors and their estates do not waive any claims that they may have

against any Contract counterparty, whether or not such claims arise under, are related to, or are

independent of the Contracts.

               8.      Notwithstanding the relief granted in this Order and any actions taken

pursuant to such relief, nothing in this Order shall be deemed: (a) an admission as to the validity,

priority or amount of any particular claim against a Debtor entity; (b) a promise or requirement

to pay any particular claim or (c) a request or authorization to assume any agreement, contract or

lease pursuant to section 365 of the Bankruptcy Code.

               9.      The requirements in Bankruptcy Rule 6006 are satisfied.

               10.     This Court shall retain jurisdiction with respect to any matters, claims,

rights or disputes arising from or related to the Motion or the implementation of this Order.




        Dated: January 26th, 2023                         JOHN T. DORSEY
        Wilmington, Delaware                              UNITED STATES BANKRUPTCY JUDGE
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                        EXHIBIT 1

                        Contracts




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  Non-Debtor            Debtor                                                    Description of
 Counterparty       Counterparty       Non-Debtor Counterparty Address              Agreement
Basketball         West Realm         601 Biscayne Blvd.                      Facilitation
Properties, Ltd.   Shires Services,   Miami, FL 33132                         Agreement, dated as
                   Inc.               Attn: John Vidalin, EVP/COO             of March 22, 2021

                                      with a copy to:
                                      Basketball Properties, Ltd.
                                      601 Biscayne Blvd.
                                      Miami, FL 33132
                                      Attn: Raquel Libman, EVP/CLO
Echo Marketing     West Realm         6400 Hollis Street, Suite 14            Letter of Agreement,
                   Shires Services,   Emeryville, CA 94608                    dated as of January 18,
                   Inc.               Email: sam@echosports.com               2022
Fox Sports Sun,    West Realm         500 E. Broward, Suite 1300              Advertising
LLC                Shires Services,   Fort Lauderdale, FL 33394               Agreement, dated as
                   Inc.                                                       of April 13, 2021
Gisele Caroline    Blockfolio, Inc.   c/o SCS Financial                       Partnership and
Bündchen                              888 Boylston Street                     Endorsement
                                      Boston, MA 02199                        Agreement, dated as
                                      Email:                                  of May 27, 2021
                                      Patricia@celebrityagency.com.br and
                                      Juridico@celebrityagency.com.br

                                      with a copy to:
                                      Latham & Watkins LLP
                                      10250 Constellation Blvd., Suite 1100
                                      Los Angeles, CA 90067
                                      Attn: Jonathan West
                                      Email: Jonathan.West@lw.com
Gisele Caroline    Blockfolio, Inc.   c/o SCS Financial                       Charitable Giving
Bündchen                              888 Boylston Street                     Letter Agreement,
                                      Boston, MA 02199                        dated as of May 27,
                                      Email:                                  2021
                                      Patricia@celebrityagency.com.br and
                                      Juridico@celebrityagency.com.br

                                      with a copy to:
                                      Latham & Watkins LLP
                                      10250 Constellation Blvd., Suite 1100
                                      Los Angeles, CA 90067
                                      Attn: Jonathan West
                                      Email: Jonathan.West@lw.com




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  Non-Debtor          Debtor                                                       Description of
 Counterparty     Counterparty       Non-Debtor Counterparty Address                Agreement
Golden State     West Realm         1 Warriors Way                             Sponsorship
Warriors, LLC;   Shires Services,   San Francisco, CA 94158                    Agreement, dated as
GSW LoL LLC;     Inc.               Attention: Chief Legal Officer             of December 9, 2021
SC Warriors
LLC; and GSW
Gaming Squad
LLC
ICC Business     FTX Trading        Street 69, Dubai Sports City,              Official Partner
Corporation FZ   Ltd.               Sheikh Mohammed Bin Zayed Road,            Agreement, dated as
LLC                                 PO Box 500070,                             of October 13, 2021
                                    Dubai
                                    United Arab Emirates
                                    Attn: General Manager, IBC

                                    with a copy to:
                                    Attn: General Counsel
                                    Email: ceonotices@icc-cricket.com and
                                    legal.notices@icc-cricket.com
Lincoln          West Realm         601 F Street, NW                           Sponsorship
Holdings LLC     Shires Services,   Washington, DC 20004                       Agreement, dated as
DBA              Inc.               Attn: Patrick Duffy, Sr. Vice President,   of December 2, 2021
Monumental                          Corporate Partnerships
Sports &                            Phone: (202) 292-1984
Entertainment                       Email: pduffy@monumentalsports.com
Miami Heat       West Realm         Attn: John Vidalin                         Advertising and
Limited          Shires Services,   Executive Vice President & Chief           Promotion Agreement,
Partnership      Inc.               Commercial Officer                         dated as of March 22,
                                    601 Biscayne Boulevard                     2021
                                    Miami, FL 33132

                                    with a copy to:
                                    Miami Heat Limited Partnership
                                    Attn: Raquel Libman
                                    Executive Vice President & Chief
                                    Legal Officer
                                    601 Biscayne Boulevard
                                    Miami, FL 33132




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  Non-Debtor         Debtor                                               Description of
 Counterparty    Counterparty     Non-Debtor Counterparty Address           Agreement
Miami Heat      FTX Trading      Attn: John Vidalin                    Counterpart and
Limited         Ltd. and West    Executive Vice President & Chief      Guarantee, dated as of
Partnership     Realm Shires     Commercial Officer                    March 22, 2021
                Services, Inc.   601 Biscayne Boulevard
                                 Miami, FL 33132

                                 with a copy to:
                                 Miami Heat Limited Partnership
                                 Attn: Raquel Libman
                                 Executive Vice President & Chief
                                 Legal Officer
                                 601 Biscayne Boulevard
                                 Miami, FL 33132
MLB Advanced Blockfolio, Inc.    Attn: General Counsel                 Promotional Rights
Media, L.P., on                  MLB Advanced Media, L.P.              Agreement, dated as
its own behalf                   1271 Avenue of the Americas           of July 10, 2021, as
and on behalf of                 New York, NY 10020                    supplemented by an
Major League                                                           Addendum to the
Baseball                         with a copy to:                       Promotional Rights
Properties, Inc.,                Wachtell, Lipton, Rosen & Katz        Agreement, dated as
the Office of the                51 W 52nd Street                      of May 26, 2022
Commissioner                     New York, NY 10019
of Baseball, The                 Attn: Philip Mindlin
MLB Network,
LLC and the
Major League
Baseball Clubs
Play Magnus       FTX Trading    Tordenskiolds Gate 2,                 Sponsorship
AS                Ltd.           0160 Oslo                             Agreement, dated as
                                 Norway                                of May 1, 2021
                                 Attn: Arne Horvei,
                                 Meltwater Champions Chess Tour
                                 Director
                                 Email: arne@playmagnus.com
                                 Phone: +4790662249

                                 with a copy to:
                                 Postboks 143 Bogstadveien,
                                 0323 Oslo,
                                 Norway
SALT Venture    FTX Trading      527 Madison Avenue, Floor 4            Sponsorship
Group, LLC      Ltd.             New York, NY, 10022                    Agreement, dated as
                                 Phone: (212) 485-1958                  of December 24, 2021
                                 Email: info@salt.org and john@salt.org


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  Non-Debtor          Debtor                                                   Description of
 Counterparty      Counterparty       Non-Debtor Counterparty Address           Agreement
SC30 Inc.         Blockfolio, Inc.   1875 S. Grant Street, Suite 120       Partnership and
                                     San Mateo, CA 94402                   Endorsement Services
                                     Attn: Hilary Awad                     Agreement, dated as
                                     Email: hilary@sc30.com                of August 11, 2021

                                     with a copy to:
                                     Octagon, Inc.
                                     7950 Jones Branch Dr., Suite 700N
                                     McLean, VA 22107
                                     Attn: Jeff Austin Email:
                                     jeff.austin@octagon.com
                                     Attn: David Schwab Email:
                                     david.schwab@octagon.com
                                     Attn: General Counsel
                                     Email: general.counsel@octagon.com
Shohei Ohtani     West Realm         c/o CAA Sports LLC                    Endorsement Services
                  Shires Services,   2000 Avenue of the Stars              Agreement, dated as
                  Inc.               Los Angeles, CA 90067                 of November 16, 2021
                                     Attn: Nez Balelo

                                     with a copy by email to all of the
                                     following:
                                     Nbalelo@caa.com
                                     Marissa.Dishaw@caa.com
                                     Terry.Prince@caa.com
Sol Stores Inc.   West Realm         548 Market Street,                    Services Agreement,
                  Shires Services,   PMB 45477,                            dated as of September
                  Inc.               San Francisco, CA 94104               27, 2022
                                     Attn: CEO and Office of the General
                                     Counsel
Swift Media       West Realm         5340 Alla Road, #100                  Sponsorship
Entertainment,    Shires Services,   Los Angeles, CA 90066                 Agreement, dated as
Inc.              Inc.               Email: wwang@solomid.net              of May 18, 2021
                                     Attn: Walter Wang
Swift Media       FTX Trading        5340 Alla Road, #100                  Sponsorship
Entertainment,    Ltd.               Los Angeles, CA 90066                 Agreement, dated as
Inc.                                 Email: wwang@solomid.net              of May 18, 2021
                                     Attn: Walter Wang




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  Non-Debtor          Debtor                                                   Description of
 Counterparty      Counterparty       Non-Debtor Counterparty Address            Agreement
UJH               Blockfolio, Inc.   FAB Consulting Solutions, LLC         Partnership and
Enterprises, Inc.                    c/o Sylvester King Jr.                Endorsement Services
                                     4328 SW 134th Avenue                  Agreement, dated as
                                     Miramar, FL 33027                     of July 30, 2021

                                     with a copy to:
                                     skingjr1@gmail.com
Wasserman         West Realm         Wasserman Media Group, LLC            Master Services
Media Group,      Shires Services,   10900 Wilshire Blvd. Suite 1200       Agreement, dated as
LLC               Inc.               Los Angeles, CA 90024                 of February 4, 2022,
                                     Attn: Jason Banks                     as supplemented by
                                     Email: jbanks@teamwass.com            Statements of Work,
                                                                           dated as of February 4,
                                     CC: Wendy Phillips, Esq.              2022, and March 28,
                                     Email: wphillips@teamwass.com         2022, respectively




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